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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

INTEGRA LIFESCIENCES CORP., INTEGRA
LIFESCIENCES SALES LLC, CONFLUENT
SURGICAL, INC. , AND INCEPT LLC,

                 Plaintiffs,
                                                          Civil Action No. 15-819-LPS-CJB
                 V.


HYPERBRANCH MEDICAL TECHNOLOGY,
INC. ,

                 Defendant.

                                     j'i!R8P@gl}J ORDER

          At Wilmington this   )(4::;of IV\ ,t.,f/A...- ,2011
          WHEREAS , on May 15, 2018 the Court held a Final Pretrial Conference in the instant

matter.

          WHEREAS , the Court released the transcript of the May 15, 2018 Final Pretrial

Conference on July 16, 2018 ("the Transcript") (D.I. 768) under seal in recognition that is may

contain confidential information, pending review by the parties;

          WHEREAS, on July 23 , 2018, Plaintiffs filed a "Notice oflntent to Request Redaction"

of the Transcript (D.I. 769);

          WHEREAS on August 6, 2018 Plaintiffs submitted a "~      j o~ rRedactions to the
Transcript of the May 15, 2018 Final Pretrial Conference (D.I~       '~ he "Motion for

Redaction"), submitting that the redactions (constituting specific information related to specific

financial information and licensing provisions) are necessary because disclosure of the
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confidential information reflected in the proposed redacted text would cause harm to the parties

(D.I._at_);

           WHEREAS , it does not appear that Defendant opposes Plaintiffs' Motion;

           WHEREAS , the proposed redactions are limited in scope, totaling approximately 6 words

(and their subsequent respective entries in the index) of the 212 page Transcript;

           WHEREAS , although the redacted material does have a bearing on the Court's ultimate

decision, sufficient context is provided by the remainder of the opinion to allow the reader to

understand the Court's decisionrnaking rationale;

           WHEREAS, and considering the question as to this Motion only, the Court finds that

good cause exists to believe that disclosure of those portions of the Transcript would work a

"clearly defined and serious injury" to Plaintiffs. Pansy v. Borough of Stroudsburg, 23 F.3d 772.

786 (3d Cir. 1994) (internal quotation marks and citation omitted); see also Mylan Inc. v.

SmithKline Beecham Corp., 723 F.3d 413 , 415 n.3 (3d Cir. 2013) (finding good cause to seal

documents "to protect the parties' confidential proprietary business and competitive interests").

           THEREFORE, it is HEREBY ORDERED that:

1.         Plaintiffs' Motion is GRANTED.        t1>~ ,rs)
2.         Any and all publicly-available copies of the Transcript in the instant matter, including but

           not limited to copies that are or will be available by remote electronic access, shall be

           redacted as delineated in Exhibit 1 of Plaintiffs' Motion for Redactions, (D .I. _).



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                                                        UNITED STATES MAGISTRATE JUDGE




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